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MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:
RoBERr HENRv PETERSON CaS€ NO»

DEBTOR'S CLAIM FOR
PROPERTY EXEMPTIONS

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Debtor.

I, ROBERT HENRY PETERSON , the undersigned debtor_. hereby claim the following property as exempt pursuant to l l U.S.C.
§522{b)(3)(A), (B), and (C`), the Laws of the State ot`North Carolina, and non-bankruptcy federal law.

l:l Cbeck if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property that the
debtor or a dependent of the debtor uses as a residence

l. REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR‘S DEPENDENT AS RESI[)ENCE OR
BURIAL PLOT. (NCGS |C- 1601(a)(l ).
Seleet appropriate exemption amount below:
El Total net value not to exceed $35,000.
|:l Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older. property was previously owned
by debtor as a tenant by the entireties orjoint tenant with rights of survivorship, and former co-owner is deceased,)

 

 

Description of Market Mtg. Holder or Amt. Mtg. Net
Property & Address Value Lien Holder(s) or Lien Value
BOONE, 28607 $0.00
(a) 'l`otal Net Value $0.00
Total Net Exernption $
{b) Unused portion of exeinption, not to exceed $5,000. $

(This amount, if any, may be carried forward and used to
claim an exemption in any property owned by the debtor.
(NCGS lC-l60|(a)(2)).

2. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to l I U.S.C. § 522(b)(3)(B)
and the laws of the State of North Carolina pertaining to property held as tenants by the entirety

Deseription of Market Mtg. Holder or Amt. Mtg. Net
Property & Address Value Lien Holder(s) or Lien Value

 

 

 

3. MOTOR VEHICLE. (NCGS lC-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
exempt not to exceed 53,500.)

Year, Make, Market Net
Model of Auto Value Lien Holder(s) Amt. Lien Value
2010 CHEVROLET HHR 55 $4,000.00 CHARLES D. PETERSON $3,216.00 $784.00

 

{a) Statutory allowance
(b) Amount from l{b) above to be used in this paragraph
(A part or all of l (b) may be used as needed.) $

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Total Net Exernption $ 7 8 4 . 0 0

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4 ’rooLs or TRADE, 1§§§@;§[%’5?§,1611 MBHS§YWAQM. (i&i€&§ icc -.lr§oi(a)(s) used by debtor or

debtor‘ s dependent Total net value ol` all items claimed as exempt not to exceed $2, 000 )

 

 

 

 

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
(a) Statutory allowance $ 2,000
(b) Ainount from l(b) above to be used in this paragraph
(A part or all of l (b) may be used as needed.) $

Total Net Exemption $

5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
DEBTOR'S DEPENDENTS (NCGS ]C 1601(a)(4) chtor‘s aggregate interest, not to exceed $5, 000 in value for the
debtor plus $I, 000 for each dependent of the debtor not to exceed $4 000 total for dependents )

Market N et
Description Value Lien I-Iolder(s) Amt. Lien Value

Clothing & Personal $100.00 l 0 0 . 0 0
Kitehen Applianees
Stove

Refri gerator

Freezer

Washing Machine
Dryer

China

Silver

Jewelry

Living Roorn Furniture
Den Furniture
Bedroom Furniture
Dining Room Furniture
Lawn Furniture
Television 4 g g Q Q

( ) Stereo ( ) Radio
Musieal Instrurnents

( ) Piano ( ) Organ
Air Conditioner
Paintings & Art $300.00
Lawn Mower

Yard Tools
Crops

Animals

Ommlcomputer,) 500£00
firearms, tools

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Total Net Value $1 3 0 0 , 0 0

 

(a) Statutory allowance for debtor $ 5 000
(b) Statutory allowance for debtor's dependents: dependents

at $ l ,000 each (not to exceed $4,000 total for dependents) $ 0
(c) Amount t`rom ](b) above to be used in this paragraph

(A part or all of l (b) may be used as needed.) $ [1

Total Net Exernption $ 1 § Q Q . Q 0

91 C (09/)3) .
6. LIFE INSURANCE. (AQB§,QiH?J$QZl¢l¢i¢ Q,O§e@a@n':§'§ll~llr°’ ipééls inapc%?l§a§]ll¢ln$)

S.

Name of Insurance Company Policy No.
Name of Insured Poliey Date

Narne of Beneficiary

 

PR()FESSIONALLY PRESCRIBED HEALTl-I AlDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
(NCGS lC-l 601(a)(?). No limit on value of number ofitems.)

Description:

 

 

DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS lC-l60|(a)(8). No limit on number

or amount.)

9.

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12.

Compensation for personal injury to debtor or to person whom debtor was dependent for support
Cornpensation for death of person of whom debtor was dependent for support
Compensation from private disability policies or annuities.

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INDIVIDUAL RETIREMENT PLANS AS DEFINED IN 'I`HE INTERNAL REVENUE CODE AND ANY PLAN
TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
REVENUE CODE (NCGS lC-l 60 l(a)(9). No limit on number or amount,) AND OTHER RETIREMENT FUNDS
DEFINED IN ll U.S.C. § 522(b)(3)(c).

Detailed Description Value

 

 

COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
(NCGS l C-I 60l(a)(10)_ Total net value not to exceed $25,000 and may not include any funds placed in a college saving
plan within the preceding 12 months not in the ordinary course of the debtor’s financial affairs 'l`his exemption applies
only to the extent that the funds are for a child ofthe debtor and will actually be used for the ehild’s college or university
expenses.

Detailed Description Value

 

 

RETIREMEN',[` BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
UNITS OF ()THER STATES., TO 'I`HE EXTEND THOSE BENEFITS ARE EXEMPT UNDER 'I`HE LAWS OF
THAT STATE OR GOVERNMENTAL UNIT. (NCGS lC-l 601(&){1 l). No limit on amount,)

Description:

 

 

ALIMONY, SUPPORT. SEPARATI()N MAINTENANCE AND CHILD SUPPORT. (NCGS 1C-l601(a)(]2). No

limit on amount to the extent such payments are reasonably necessary for the support of Debtor or dependent of Debtor.)

Deseription:

 

 

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13. ANY oTHER REAL o§q€§as%§§ilikc§§§¥v wifili:l?l%%li’?)k B§§FR‘l§§it§) CLAIM As EstPT

14.

15.

TI-IAT HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-16`01(a)(2), The amount claimed may not
exceed the remaining amount available under paragraph l(b) which has not been used for other cxemptions,)

 

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
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_Qheclcing_accpun; MLQO__ _ _ J_a_a_,rlu
(a) Total Net Value of property claimed in paragraph 13, $__Z_QM_
(b) Total amount available from paragraph l(b), $

(e) Less amounts from paragraph l(b) which were
Used in the following paragraplis:

Paragraph 3(b) $

Paragraph 4(b) $

Paragraph 5(c) $

Net Balance Available from paragraph l(b) $
Total Net Exemption $

OTHER EXEMPTIONS lCLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

Aid to the Aged, Disabled and Families with Dependent Children, NCGS 108A~36
Aid to the B]ind, NCGA 111-18
Yearly Allowanee for Surviving Spouse, NCGS 30-15
North Carolina Local Government Employecs Retiremcnt Beneflts, NCGS 128-31
North Carolina Tcachers and State Employees Retiremcnt Benefits, NCGS 135-9
Firemen’s Reliel` Fund Pensions, NCGS 58-86*90
Workcrs Compensation Benefits, NCGS 97-21
Unemployment Beneiits, so long as not commingled and except for debts

for necessities purchased while unemployed, NCGS 96-1')'
Group Insurance Proeceds, NCGS 58-58-165
Partnership Property, except on a claim against the partnership1 NCGS 59-55
Wages of a chtor Necessary for Support of I-`amily, NCGS 1-362
Other
TOTAL VALUE OF PROPERTY CLAll\/IED AS EXEMPT $

EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

Foreign Service Retiremcnt and Disability Payinents, 22 U.S.C, § 1 104

Social Seeurity Benefits, 42 U,S.C. § 401

Injury of Death Compensation Payrnents from War Risk Hazards, 42 U.S.C. § 601

Wages of Fisherrnen, Seamen and Apprentices, 46 U.S.C. § 601

Civil Service Retiremcnt Benefits, 5 U.S.C, §§ 729, 2265

Longshoremcn and Harbor Workers Compensation Act Death and Disability Benefits,
33 U.S.C. § 916

Railroad Retiremcnt Act Annuities and Pensions 45 U.S.C. § 228(1_,)

Veterans Bencfits, 45 U.S.C. § 352(E)

Special Pension Paid to Winners of Congressional Medal of Honor, 38 U.S.C. § 3101

Federal l-lomestead Lands, on Deth Contracted Before the lssuance of the Patent,
43 U.S.C. § 125

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TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT $ 0.00

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16v RECENT PURCHASES
The exemptions provided in NCGS lC-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition

for bankruptey, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may
be exempt and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the debtor less than 90 days preceding the filing of the bankruptcy petition:

Market Net
Description Value Lien Holder(s) Amt. Lien Value

 

 

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Debtoil

